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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                FORT WORTH DIVISION

ROBERT (BOB) ROSS,                             §
                                               §
    Plaintiff/Counterclaim Defendant,          §
                                               §
v.                                             §       Civil Action No. 4:22-CV-00343-Y
                                               §
ASSOCIATION OF PROFESSIONAL                    §
FLIGHT ATTENDANTS, JULIE                       §
HEDRICK, AND ERIK HARRIS,                      §
                                               §
    Defendants/Counterclaim Plaintiffs.        §

      UNION DEFENDANTS’ REPLY1 TO PLAINTIFF ROSS’S AMENDED RESPONSE
       (DOC. 41) TO THE UNION DEFENDANTS’ MOTION TO DISMISS (DOC. 27)

     I.      INTRODUCTION

          The Union Defendants2 have respectfully and repeatedly submitted to the Court what

they believe to be the well settled legal principles requiring dismissal of all of the claims by

Plaintiff Ross (“Ross” or “Plaintiff”) in this case and in the companion case of Vargas v. APFA

et. al., Civil Action No. 4:22-cv-00430-Y, under both Federal Rules 12(b)(1) and 12(b)(6).

Rather than restate all of the settled and dispositive legal precedents in this Reply to Ross’s




1
 The Union Defendants previously filed a Reply (doc. 34) to Plaintiff Ross’s Response (doc. 33)
to the Union Defendants Motion to Dismiss. (doc. 27). However, Ross’s Response was
subsequently un-filed by the Court. (doc. 35). This Reply addresses Ross’s Amended Response
(doc. 41) which the Court granted Ross leave to late file by Order dated September 15, 2022.
(doc. 40).
2
 Defendant/Counterclaim Plaintiff Association of Professional Flight Attendants will be referred
to herein as the “APFA”; individual APFA officer Defendants Julie Hedrick and Erik Harris will
be referred to as the “APFA Officers”; and the APFA and APFA Officers collectively will be
referred to as the “Union Defendants.”

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Amended Response to Defendants’ Motion to Dismiss (doc. 41) (“Ross Am. Resp.”) 3 which we

have already detailed in our Motion to Dismiss (doc. 27), we submit the following to address and

dispose of only the most recent erroneous legal arguments by Ross.

    II.      SUBJECT MATTER JURISDICTION

          As previously noted, Plaintiff Ross’s only assertion of subject matter jurisdiction, Section

101(a)(5) of the LMRDA, 29 U.S.C. Section 411(a)(5) (Ross Complaint, pg. 1 para. 1; pgs. 3-4

para. 9; pg. 18 para. 5), is unavailing and, on this ground, his lawsuit should be dismissed. To be

actionable under Section 101(a)(5) the alleged violation must "be (d)iscipline … done in the

name of or on behalf of the union as an organizational entity.” Breininger v. Sheet Metal

Workers Int'l Ass'n Local Union No. 6, 493 U.S. 67, 97 (1987). Here, it is undisputed that the

arbitration proceedings and decisions at issue were not undertaken by or on behalf of the Union

Defendants -- i.e., by the APFA or the APFA Officers -- but were filed and processed by APFA

union members; the Defendant Union and its Officers did not initiate and were not parties to the

arbitration process, and did not take any position with respect to either the merits of the

underlying charges or the remedy. (Def. Mem. pgs. 1-3, 5; Ross Complaint, pgs. 6-7 para. 18;

pg. 11 para. 29; pgs. 12-13 paras. 30, 31, 32 (APFA union members initiated the charges which

were referred to arbitration per the APFA Constitution; pgs. 13-16 paras. 33-38 (the Union

Defendants were not parties to the arbitration proceeding)).

          As noted in the companion Vargas case4, the courts have consistently ruled, even where,

as is undisputedly not the case here, it was the union that filed and processed a grievance in its


3
 Citations to the pages of Ross’s Amended Response (doc. 41) will be made by “Ross Am.
Resp.” followed by the page number of the Amended Response to which the cite refers.
4
 Vargas v. Association of Professional Flight Attendants, et al., Civil Action No. 4:22-cv-00430-
Y (U.S. Dist. Ct. N. D. Tex., Fort Worth Div.) (ECF doc. 47, p. 7).

                                                   2
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own stead, “(a) local union's action or inaction in the processing of a grievance is not ‘discipline’

or punishment within the meaning of the LMRDA.” Hebert v. Gen. Truck Drivers, Chauffeurs,

Warehousemen & Helpers, Local 270, 2004 U.S. Dist. LEXIS 13406 at *12-17 (E.D. La. 2004);

Camporeale v. Airborne Freight Corp., 732 F. Supp. 358, 366 (E.D.N.Y.), aff'd without op., 923

F.2d 842 (2nd Cir. 1990).

         There are only two citations to Section 101(a)(5) to be found anywhere in Ross’s

Amended Response (doc 41), and they do not appear until pages 14 and 15 of that Response,

suggesting at least that Ross understands the weakness of that particular provision as his entire

source of purported subject matter jurisdictional authority. Rather than cite specifically to

Section 101(a)(5) as the only jurisdictional basis for his attempt to vacate the arbitration decision

at issue, Ross misleadingly attempts to substitute Section 102 of the LMRDA5 as the

jurisdictional basis for his Complaint. Ross Am. Resp. 14. LMRDA Section 102 generally

provides jurisdiction for all “of the provisions of this title” – LMRDA Sections 101(a) through

101(a)(5)6 – and, as noted, Ross’s only claim asserted in this lawsuit is for alleged violation of

Section 101(a)(5). (Ross Complaint, pg. 1 para. 1; pgs. 3-4 para. 9; pg. 18 para. 58).

         “Title I of the LMRDA is not a catch-all into which might be swept all manner of

miscellaneous charges without any specificity.” Abrams v. Carrier Corp., 434 F. 2d 1234, 1250

(2nd Cir. 1970), cert den. 401 US 1007 (1971) (citing Scovile v. Watson, 338 F.2d 678, 681 (7th

Cir. 1964), cert. den, 380 U.S. 963 (1965); Green v. Local 705, Hotel and Restaurant




5
 Section 102 of the Labor-Management Reporting and Disclosure Act (“LMRDA”), 29 U.S.C.
§412.
6
    Sections 101(a) through 101(a)(5) of the LMRDA, 29 U.S.C. §§ 411(a) –(a)(5).

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Employees’ and Bartenders’ International Union, AFL-CIO, 220 F. Supp. 505, 507 (E.D. Mich.

1963)).

             Thus, Section 101(a)(5) cannot apply here, either as a basis of subject matter jurisdiction

or as a standard of judicial review.

      III.      FAILURE TO STATE A CLAIM
             Given the adverse legal precedents facing his erroneous assertions of LMRDA Section

101(a)(5), as both his only basis for jurisdiction and his asserted standard of review, Ross has

now reversed course and made a half-hearted post hoc attempt to introduce a new standard: that

the arbitration decision at issue should be vacated pursuant to Section 301(a) of the LMRA.7

Ross Am. Resp. 20-21. But, Ross’s Complaint contains no such assertion of Section 301(a)

subject matter jurisdiction. Indeed, no citation to Section 301 of the LMRA can be found within

the four corners of the Ross’s Complaint. Ross’s belated attempt in his Response to establish

compliance with LMRA Section 301(a) – without even citing to that statute in his Complaint --

is, once again, in error as a matter of law.

             First, Ross confusingly describes Section 301(a) as applicable only to collective

bargaining agreements involving employers like American Airlines. (Ross Am. Resp. pg. 19).

Section 301(a), by its terms, also governs “contracts … between labor organizations,” here the

APFA Constitution between the APFA, as a labor organization, and its constituent local affiliate

bodies (so-called “Bases”). (Def. Mem. Pg. 10). Section 301(a) caselaw applies the “highly

deferential” standard of judicial review to arbitration decisions without exception. (Def. Mem.

Pgs. 6-7. 8 fn. 8).



7
    Section 301 of the Labor Management Relations Act (“LMRA”), 29 U.S.C. Section 185(a).

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         Then, in his post hoc attempt to argue compliance with the Section 301(a) standard of

judicial review of arbitration decisions, Ross cites a Section 301(a) decision by the Supreme

Court, United Paper Workers v. Misco, Inc., 484 U.S. 29 (1987), at 38-39, as standing for an

exception to the deferential Section 301(a) standard of judicial review: where the arbitration

decision was obtained through “the arbitrator’s dishonesty.” Ross Am. Resp. 20-21. Ross then

offers an unspecified citation to “Exh. H. Pl. Original Complaint” as the entire basis for his

allegation of arbitrator “dishonesty.” (Ross Am. Resp. 20, fn 70).

         Paragraphs 41 and 42 – which contain the only references in Ross’s Complaint (pgs. 16-

18) to any alleged arbitrator “dishonesty” – actually refute his post hoc allegation. The purported

“dishonesty” referenced in the paragraphs 41 and 42 of the Ross Complaint refers to evidentiary

rulings by the Arbitrator during the hearing, rulings that Ross apparently disagreed with. (Ross

Complaint, pgs. 13-16 paras. 33-38).

         Evidentiary rulings by an arbitrator, as well as all other procedural issues arising in

arbitration, are within the exclusive jurisdiction of the arbitrator and not the courts. John Wiley &

Sons, Inc. v. Livingston, 378 U.S. 543, 557 (1964); Columbian Carbon Co. v. Operating

Engineers, 360 F. 2d 1018, 1020-21 (5th Cir. 1966). Ross’s ninth inning attempt to re-invent a

basis for judicial review of the arbitration decision at issue by complaining about the Arbitrator’s

evidentiary rulings obviously fails to state a claim for relief as a matter of law.

   IV.      CONCLUSION

         Ross has failed to assert a valid basis for subject matter jurisdiction to support his suit

seeking to vacate the arbitration decision at issue, or the closely related state court claims, and

his asserted legal basis for attempting to litigate those issues fails to state a claim upon which



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relief may be granted. He has implicitly conceded the absence of jurisdiction for his claims

against the APFA Officers and the absence of jurisdiction for his state law claims, and conceded

as well his failure to even attempt to exhaust the mandatory internal procedures in the APFA

Constitution.

       Ross’s claims against the Union Defendants should therefore be dismissed in their

entirety under Federal Rules 12(b)(1) and 12(b)(6), leaving the Defendants’ counterclaims,

including to enforce the arbitration decision at issue, to be determined by the Court.

Date: October 5, 2022                         Respectfully Submitted,


                                                /s/ Sanford R. Denison
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                                              Association of Professional Flight Attendants, and
                                              Defendants Julie Hedrick and Erik Harris




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                               CERTIFICATE OF SERVICE

       I certify that on this 5th day of October 2022 a true and correct copy of the foregoing
document was served on the below listed counsel of record for Plaintiff/Counterclaim Defendant
Vargas by a means permitted by Rule 5(b)(2) of the Federal Rules of Civil Procedure (“F.R.C.P.”).

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                                             /s/ Sanford R. Denison
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